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13

14                           UNITED STATES DISTRICT COURT
15                          EASTERN DISTRICT OF CALIFORNIA
16

17 CALIFORNIA COASTKEEPER ALLIANCE,               Case No. 2:20-cv-01703-SCR
18
                     Plaintiff,                   DECLARATION OF CHRISTOPHER
19 vs.                                            HUDAK IN SUPPORT OF PLAINTIFF'S
                                                  MOTION FOR INTERIM AWARD OF
20 COSUMNES CORPORATION dba                       FEES AND COSTS
   MURIETA EQUESTRIAN CENTER, a
21
   California Corporation; CAROL                  Hearing Date: June 12, 2025
22 ANDERSON WARD, an individual;                  Time: 10:00 AM
   CAROL ANDERSON WARD, as trustee                Courtroom: 27, 8th Floor
23 of the Carol Anderson Ward Trust dated         Hon. Sean Riordan
   February 6, 2002,
24

25
                           Defendants.
26

27

28

     DECLARATION OF CHRISTOPHER HUDAK ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES
                                        AND COSTS
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 1          I, Christopher Hudak, declare:

 2          1.       I am more than eighteen years old and am competent to testify as to the matters set

 3   forth herein.

 4          2.       I am an attorney licensed to practice law in the State of California. I was Of Counsel

 5   with Aqua Terra Aeris (“ATA”) Law Group, representing California Coastkeeper Alliance

 6   (“Plaintiff”) in the above referenced action. I am no longer with the firm. I was Of Counsel with

 7   ATA from approximately August 2018 to May 2024. I am now Senior Policy Advisor with Basel

 8   Action Network.

 9          3.       I make this Declaration in support of Plaintiff’s Motion for Attorneys’ Fees and

10   Costs, filed herewith. The facts set forth in this declaration are based on my personal knowledge,

11   unless otherwise stated; if called to testify as a witness, I could and would competently testify

12   thereto under oath.

13      I. BIOGRAPHICAL INFORMATION

14          4.       I have exclusively practiced public interest environmental law representing
15   nonprofits and others in cases involving Proposition 65, the Clean Water Act, the California
16   Environmental Quality Act, the California Public Records Act, the Resource Conservation and
17   Recovery Act, the Endangered Species Act, the Clean Air Act, the Freedom of Information Act,
18   and the National Environmental Policy Act, among other state and federal laws.
19          5.       Prior to working with ATA, I worked for Environmental Advocates, a public interest
20   environmental firm located in San Francisco, California. I started my legal career as an associate
21   with Earthjustice, a large public interest environmental law firm. I worked in their San Francisco
22   office. I received my J.D. from Berkeley Law in May 2011. I also received a Masters of
23   Environmental Management from the Yale School of Forestry and Environmental Studies and a
24   B.A. in Political Science from Yale University. I am a former Fulbright Scholar.
25          6.       My 2025 rate being requested herein for the Eastern District of California is $505.00
26   per hour.
27          7.       My 2025 rate for attorney work in the Los Angeles/Orange County area market is
28   $825 per hour. My 2025 rate for paralegal work in the Los Angeles/Orange County area market is

                                              2
     DECLARATION OF CHRISTOPHER HUDAK ISO PLAINTIFF’S MOTION FOR ATTORNEY FEES AND COSTS
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 1   $285 per hour. My rate for secretarial work in the Los Angeles/Orange County area market is $143

 2   per hour. Given my experience, skill, and reputation, my rates requested herein are reasonable.

 3      II. TASKS PERFORMED AND HOURS INCURRED IN THIS CASE

 4          8.     The following is a thorough, but not exhaustive accounting of the tasks I worked on
 5   as part of this litigation. For a complete accounting of the time I spent on this matter, please review
 6   my billing entries filed concurrently herewith.
 7          9.     Throughout 2020, I prepared and edited California Public Records Act requests
 8   seeking documents and information relevant to this litigation, including to the Rancho Murieta
 9   Community Services District. And I reviewed documents obtained in response to such requests.
10          10.    In 2021, I worked on many discovery-related tasks. For example, in February of that
11   year, I compiled Plaintiff’s initial disclosures and helped Plaintiff to review and respond to
12   opposing counsel’s requests for production. And soon thereafter I also helped Plaintiff to review
13   and respond to opposing counsel’s interrogatories. I also helped draft meet-and-confer letters
14   regarding Defendants’ inadequate responses to Plaintiff’s discovery requests. In June 2021, I also
15   helped to prepare Plaintiff’s 30(b)(6) deposition notice to Defendants.
16          11.    From July through December of 2021, I helped review the larger document
17   production provided to Plaintiff by Defendants (after and as a result of that meet-and-confer
18   process) and analyze how those documents helped Plaintiff’s Clean Water Act theories. This work
19   also included analyzing how the documents reviewed (and produced to Plaintiff) supported the
20   notion that the Murietta Equestrian Center qualifies as a Concentrated Animal Feeding Operation
21   under governing regulations.
22          12.    In late September 2021, I helped to prepare Plaintiff’s settlement statement.
23          13.    In November 2021, I helped to organize documents for review by Plaintiff’s experts.
24          14.    In early 2022, I helped to draft third-party subpoenas to the U.S. Army Corps of
25   Engineers and the regional water board related to this litigation.
26          15.    And later in 2022, in April through August of that year, I helped to manage
27   Plaintiff’s production of documents and responses to Defendants’ interrogatories in this case.
28

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     DECLARATION OF CHRISTOPHER HUDAK ISO PLAINTIFF’S MOTION FOR ATTORNEY FEES AND COSTS
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 1          16.     Throughout the entire back half of 2022, I also helped to strategize in support of

 2   Plaintiff’s first Motion for Summary Judgment and also to prepare and organize the files in support

 3   thereof and to respond to Defendants’ first Motion for Summary Judgment and prepare and

 4   organize files in opposition thereto. I also helped to prepare Plaintiff’s Statement of Undisputed

 5   Facts in support of this Motion. And I helped to prepare the exhibits in support of Plaintiff’s

 6   Motion.

 7          17.     In February 2023, I conducted research related to the exhibits provided in support of

 8   Plaintiff's first Motion for Summary Judgment to inform Plaintiff’s reply in support thereof. And I

 9   prepared the exhibits for that reply brief.

10          18.     I have not worked on this matter since at least April 2023 until now, to support this

11   fee motion.

12          19.     Attached hereto as Exhibit 1 is a true and correct copy of my chronological time

13   records that document the time that I spent on this case. I personally and contemporaneously kept

14   these records using computer timekeeping software documenting the hours I worked on this case.

15
            I declare, under penalty of perjury under the laws of the United States that the foregoing is
16
     true and correct. Executed on the twenty-seventh day of March 2025 in Jackson, Wyoming.
17

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19                                                                Christopher Hudak
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                                              4
     DECLARATION OF CHRISTOPHER HUDAK ISO PLAINTIFF’S MOTION FOR ATTORNEY FEES AND COSTS
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                                            Research on Murieta Equestrian Center compliance with Clean Water
                                            Act for development of Clean Water Act case; analyze Water Board
                   Murieta                  permits/orders regarding same.
                   Equestrian
  11/7/2018 CCKA   Center     C. Hudak                                                                                         1.6    $580.00            $928.00                                     $0.00                                      0

                                            Draft Public Records Act request pertaining to Murieta Equestrian Center
                                            for development of possible Clean Water Act claims.
                   Murieta
                   Equestrian
  1/29/2019 CCKA   Center     C. Hudak                                                                                         0.9    $580.00            $522.00                                     $0.00                                      0

                                            Revise Public Records Act request to Murieta Equestrian Center, send
                                            to E. Bustos for service.
                   Murieta
                   Equestrian
   1/7/2020 CCKA   Center     C. Hudak                                                                                         0.5    $580.00            $290.00                                     $0.00                                      0

                                            Locate and forward draft Public Records Act request re: Murrieta
                                            Equestrian Center to J. Flanders and L. Wood.
                   Murieta
                   Equestrian
   1/7/2020 CCKA   Center     C. Hudak                                                                                         0.2    $580.00            $116.00                                     $0.00                                      0

                                            Review Public Records Act response from Water Board and email from
                                            J. Flanders re: same and follow up research project for E. Lautanen.
                   Murieta
                   Equestrian
  1/21/2020 CCKA   Center     C. Hudak                                                                                         0.1    $580.00              $0.00                                 $58.00                                        0.1

                                            Strategize re: amending complaint for Resource Conservation and
                                            Recovery Act; review complaint.
                   Murieta
                   Equestrian
   9/1/2020 CCKA   Center     C. Hudak                                                                                         0.2    $580.00            $116.00                                     $0.00                                      0

                                            Revise complaint to include Resource Conservation and Recovery Act
                                            allegations.
                   Murieta
                   Equestrian
   9/2/2020 CCKA   Center     C. Hudak                                                                                         1.4    $580.00            $812.00                                     $0.00                                      0

                                            Add Resource Conservation and Recovery Act claims to complaint.

                   Murieta
                   Equestrian
   9/8/2020 CCKA   Center     C. Hudak                                                                                         1.4    $580.00              $0.00                                $812.00                                        1.4

                                            Draft Public Records Act request to Rancho Murieta Community
                                            Services District; strategize with J. Flanders and E. Maharg re: same.
                   Murieta
                   Equestrian
 10/13/2020 CCKA   Center     C. Hudak                                                                                         0.4    $580.00              $0.00                                $232.00                                        0.4

                                            Draft Public Records Act to Rancho Murieta Community Services District
                                            regarding Murieta Equestrian Center.
                   Murieta
                   Equestrian
 10/14/2020 CCKA   Center     C. Hudak                                                                                         1.8    $580.00           $1,044.00                                    $0.00                                      0




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                                            Research on General Permit in support of Public Records Act request to
                                            Rancho Murieta Community Services District; edit Public Records Act
                   Murieta                  and finalize.
                   Equestrian
 10/14/2020 CCKA   Center     C. Hudak                                                                                         1.4    $580.00           $812.00                                    $0.00                                      0

                                            Legal research in support of Public Records Act extension; email with
                                            CSD re: extension; strategize with E. Maharg re: same; review response
                   Murieta                  emails; calendar due date.
                   Equestrian
 10/27/2020 CCKA   Center     C. Hudak                                                                                         1.2    $580.00             $0.00                               $696.00                                        1.2

                                            Email to Rancho Murieta Community Services District re: costs of Public
                                            Records Act request; legal research in support of same.
                   Murieta
                   Equestrian
 10/28/2020 CCKA   Center     C. Hudak                                                                                         1.4    $580.00           $812.00                                    $0.00                                      0

                                            Review and save Public Records Act responses to files.

                   Murieta
                   Equestrian
  11/6/2020 CCKA   Center     C. Hudak                                                                                         0.2    $580.00             $0.00                               $116.00                                        0.2

                                            Analyze production of Public Records Act to Rancho Murieta Community
                                            Services District and organize files to shared drive; email to Rancho
                   Murieta                  Murieta Community Services District seeking confirmation that
                   Equestrian               production is complete
 11/10/2020 CCKA   Center     C. Hudak                                                                                         0.7    $580.00           $406.00                                    $0.00                                      0

                                            Respond to email from Rancho Murieta Community Services District re:
                                            Public Records Act request.
                   Murieta
                   Equestrian
 11/11/2020 CCKA   Center     C. Hudak                                                                                         0.1    $580.00             $0.00                                $58.00                                        0.1

                                            Compile initial disclosures.

                   Murieta
                   Equestrian
   2/2/2021 CCKA   Center     C. Hudak                                                                                         0.9    $580.00           $522.00                                    $0.00                                      0

                                            Discussion with J. Flanders re: responses to Requests for Production set
                                            one.
                   Murieta
                   Equestrian
   2/9/2021 CCKA   Center     C. Hudak                                                                                         0.1    $580.00            $58.00                                    $0.00                                      0

                                            Initial disclosures review and emails with J. Flanders / E. Bustos re:
                                            same.
                   Murieta
                   Equestrian
  2/10/2021 CCKA   Center     C. Hudak                                                                                         0.3    $580.00             $0.00                               $174.00                                        0.3

                                            Review Requests for Production from defendants in support of drafting
                                            response; review documents in support of same.
                   Murieta
                   Equestrian
  2/10/2021 CCKA   Center     C. Hudak                                                                                         1.6    $580.00           $928.00                                    $0.00                                      0




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                                            Legal research in support of Requests for Production Set 1 response.

                   Murieta
                   Equestrian
  2/10/2021 CCKA   Center     C. Hudak                                                                                         0.8    $580.00           $464.00                                    $0.00                                      0

                                            Further review of potentially responsive documents to requests for
                                            production.
                   Murieta
                   Equestrian
  2/10/2021 CCKA   Center     C. Hudak                                                                                         0.6    $580.00           $348.00                                    $0.00                                      0

                                            Coordinate finalizing initial disclosure production with J. Flanders, E.
                                            Bustos, EB; privilege review of documents.
                   Murieta
                   Equestrian
  2/11/2021 CCKA   Center     C. Hudak                                                                                         1.6    $580.00             $0.00                               $928.00                                        1.6

                                            Further drafting of Requests for Production responses.

                   Murieta
                   Equestrian
  2/11/2021 CCKA   Center     C. Hudak                                                                                         1.3    $580.00           $754.00                                    $0.00                                      0

                                            Further legal research in support of drafting Requests for Production
                                            responses.
                   Murieta
                   Equestrian
  2/11/2021 CCKA   Center     C. Hudak                                                                                         1.0    $580.00           $580.00                                    $0.00                                      0

                                            Draft responses to Requests for Production.

                   Murieta
                   Equestrian
  2/17/2021 CCKA   Center     C. Hudak                                                                                         1.6    $580.00           $928.00                                    $0.00                                      0

                                            Further drafting of objections to Requests for Production Set 1.

                   Murieta
                   Equestrian
  2/17/2021 CCKA   Center     C. Hudak                                                                                         1.3    $580.00           $754.00                                    $0.00                                      0

                                            Further drafting of objections to Requests for Production Set One.

                   Murieta
                   Equestrian
  2/18/2021 CCKA   Center     C. Hudak                                                                                         0.9    $580.00             $0.00                               $522.00                                        0.9

                                            Select documents to provide to expert in support of wet weather
                                            inspection.
                   Murieta
                   Equestrian
  2/18/2021 CCKA   Center     C. Hudak                                                                                         1.6    $580.00           $928.00                                    $0.00                                      0

                                            Add Bates number citations from file to Requests for Production Set One
                                            response.
                   Murieta
                   Equestrian
  2/23/2021 CCKA   Center     C. Hudak                                                                                         1.8    $218.00             $0.00                               $392.40                                        1.8




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                                            Further Bates number citations from file to Requests for Production Set
                                            One response.
                   Murieta
                   Equestrian
  2/23/2021 CCKA   Center     C. Hudak                                                                                            1.6    $218.00              $0.00                                $348.80                                        1.6

                                            Further addition of Bates citations to Requests for Production
                                            responses.
                   Murieta
                   Equestrian
  2/23/2021 CCKA   Center     C. Hudak                                                                                            1.5    $218.00              $0.00                                $327.00                                        1.5

                                            Finish Bates number citations from file to Requests for Production Set
                                            One response and email draft to J. Flanders.
                   Murieta
                   Equestrian
  2/23/2021 CCKA   Center     C. Hudak                                                                                            1.3    $218.00              $0.00                                $283.40                                        1.3

                                            Review meet and confer letter re: Plaintiff's Requests for Production ;
                                            review Plaintiff's objections in support of response.
                   Murieta
                   Equestrian
   4/1/2021 CCKA   Center     C. Hudak                                                                                            0.5    $580.00            $290.00                                     $0.00                                      0

                                            Drafting of meet and confer letter re: Plaintiff's responses to Defendant's
                                            requests for production.
                   Murieta
                   Equestrian
   4/6/2021 CCKA   Center     C. Hudak                                                                                            0.2    $580.00            $116.00                                     $0.00                                      0

                                            Review and respond to email from J. Flanders re: drafting meet and
                                            confer re: discovery responses.
                   Murieta
                   Equestrian
   6/2/2021 CCKA   Center     C. Hudak                                                                                            0.1    $580.00              $0.00                                 $58.00                                        0.1

                                            Review interrogatory discovery responses in support of drafting meet
                                            and confer; outline meet and confer letter.
                   Murieta
                   Equestrian
   6/3/2021 CCKA   Center     C. Hudak                                                                                            1.8    $580.00           $1,044.00                                    $0.00                                      0

                                            Draft responses section of meet and confer re: Defendant's responses to
                                            Plaintiff's interrogatories Set 1.
                   Murieta
                   Equestrian
   6/3/2021 CCKA   Center     C. Hudak                                                                                            1.7    $580.00            $986.00                                     $0.00                                      0

                                            Draft responses section of meet and confer letter re: Defendant's
                                            Requests for Production responses.
                   Murieta
                   Equestrian
   6/3/2021 CCKA   Center     C. Hudak                                                                                            1.6    $580.00            $928.00                                     $0.00                                      0

                                            Further drafting of interrogatory section of meet and confer letter re:
                                            Defendant's extensive deficient responses.
                   Murieta
                   Equestrian
   6/8/2021 CCKA   Center     C. Hudak                                                                                            1.4    $580.00              $0.00                                $812.00                                        1.4




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                                            Edits to meet and confer letter interrogatory section re: Defendant's
                                            response to Set 1 discovery.
                   Murieta
                   Equestrian
   6/8/2021 CCKA   Center     C. Hudak                                                                                            0.8    $580.00              $0.00                                $464.00                                        0.8

                                            Further drafting of interrogatory section of meet and confer letter re:
                                            Defendant's response to Set 1 discovery.
                   Murieta
                   Equestrian
   6/8/2021 CCKA   Center     C. Hudak                                                                                            1.8    $580.00           $1,044.00                                    $0.00                                      0

                                            Further drafting of Requests for Production section of meet and confer
                                            letter.
                   Murieta
                   Equestrian
   6/9/2021 CCKA   Center     C. Hudak                                                                                            1.8    $580.00           $1,044.00                                    $0.00                                      0

                                            Analysis of Requests for Production documents provided in support of
                                            drafting meet and confer letter.
                   Murieta
                   Equestrian
   6/9/2021 CCKA   Center     C. Hudak                                                                                            1.2    $580.00            $696.00                                     $0.00                                      0

                                            Draft interrogatory section of meet and confer letter re: Set 1 responses.

                   Murieta
                   Equestrian
   6/9/2021 CCKA   Center     C. Hudak                                                                                            1.0    $580.00            $580.00                                     $0.00                                      0

                                            Further drafting of interrogatory section of meet and confer letter re: Set
                                            1 responses.
                   Murieta
                   Equestrian
   6/9/2021 CCKA   Center     C. Hudak                                                                                            1.0    $580.00            $580.00                                     $0.00                                      0

                                            Draft requests for production section of meet and confer letter re: Set
                                            One responses to discovery.
                   Murieta
                   Equestrian
   6/9/2021 CCKA   Center     C. Hudak                                                                                            0.3    $580.00            $174.00                                     $0.00                                      0

                                            Review documents in file in support of assessing documentation of
                                            number of horses at facility.
                   Murieta
                   Equestrian
  6/10/2021 CCKA   Center     C. Hudak                                                                                            0.4    $580.00            $232.00                                     $0.00                                      0

                                            Draft 30(b)(6) notice and Attachment A (topics/categories).

                   Murieta
                   Equestrian
  6/15/2021 CCKA   Center     C. Hudak                                                                                            1.9    $580.00           $1,102.00                                    $0.00                                      0

                                            Further drafting of Deposition Notice / Attachment A.

                   Murieta
                   Equestrian
  6/15/2021 CCKA   Center     C. Hudak                                                                                            1.3    $580.00            $754.00                                     $0.00                                      0




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                                             Begin drafting deposition outline.

                   Murieta
                   Equestrian
  6/15/2021 CCKA   Center     C. Hudak                                                                                            0.5    $580.00            $290.00                                     $0.00                                      0

                                             Draft deposition outline re: Cosumnes Corp.

                   Murieta
                   Equestrian
  6/16/2021 CCKA   Center     C. Hudak                                                                                            0.3    $580.00            $174.00                                     $0.00                                      0

                                             Emails with E. Maharg re: 30(b)(6) deposition notice.

                   Murieta
                   Equestrian
  6/22/2021 CCKA   Center     C. Hudak                                                                                            0.5    $580.00              $0.00                                $290.00                                        0.5

                                             Review email from E. Maharg re: deposition notice and next steps.

                   Murieta
                   Equestrian
   7/1/2021 CCKA   Center     C. Hudak                                                                                            0.1    $580.00              $0.00                                 $58.00                                        0.1

                                             Review email from J. Flanders re: document review task in support of
                                             developing deposition outline.
                   Murieta
                   Equestrian
   8/9/2021 CCKA   Center     C. Hudak                                                                                            0.1    $580.00              $0.00                                 $58.00                                        0.1

                                             Production upload to Everlaw and upload issues.

                   Murieta
                   Equestrian
  8/10/2021 CCKA   Center     C. Hudak                                                                                            1.1    $218.00              $0.00                                $239.80                                        1.1

                                             Strategize with J. Flanders (0.2) re: review of large document production;
                                             strategize with E. Maharg (0.6) re: document review; begin document
                   Murieta                   review of Defendant's production in support of developing Clean Water
                   Equestrian                Act claims.
  8/10/2021 CCKA   Center     C. Hudak                                                                                            1.8    $580.00           $1,044.00                                    $0.00                                      0

                                             Further analysis of documents produced by Defendants in support of
                                             developing Clean Water Act claims.
                   Murieta
                   Equestrian
  8/10/2021 CCKA   Center     C. Hudak                                                                                            0.3    $580.00            $174.00                                     $0.00                                      0

                                             Call with J. Flanders re: Murieta Equestrian Center document production.

                   Murieta
                   Equestrian
  8/11/2021 CCKA   Center     C. Hudak                                                                                            0.2    $580.00              $0.00                                $116.00                                        0.2

                                             Review documents from first production in support of developing Clean
                                             Water Act claims against Murieta Equestrian Center.
                   Murieta
                   Equestrian
  8/11/2021 CCKA   Center     C. Hudak                                                                                            1.7    $580.00            $986.00                                     $0.00                                      0




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                                             Review document production in support of developing claims against
                                             Murieta Equestrian Center.
                   Murieta
                   Equestrian
  8/11/2021 CCKA   Center     C. Hudak                                                                                      1.7    $580.00            $986.00                                     $0.00                                      0

                                             Review document production in support of developing Clean Water Act
                                             claims against RMC.
                   Murieta
                   Equestrian
  8/12/2021 CCKA   Center     C. Hudak                                                                                      1.7    $580.00              $0.00                                $986.00                                        1.7

                                             Further document review of first production in support of developing
                                             Clean Water Act claims.
                   Murieta
                   Equestrian
  8/12/2021 CCKA   Center     C. Hudak                                                                                      1.3    $580.00            $754.00                                     $0.00                                      0

                                             Further analysis of documents produced in discovery in support of
                                             developing Clean Water Act claims.
                   Murieta
                   Equestrian
  8/17/2021 CCKA   Center     C. Hudak                                                                                      1.9    $580.00           $1,102.00                                    $0.00                                      0

                                             Review documents 1183-1664 in support of developing Clean Water Act
                                             claims.
                   Murieta
                   Equestrian
  8/17/2021 CCKA   Center     C. Hudak                                                                                      1.9    $580.00           $1,102.00                                    $0.00                                      0

                                             Review documents 1683-1943 in support of developing Clean Water Act
                                             claims.
                   Murieta
                   Equestrian
  8/17/2021 CCKA   Center     C. Hudak                                                                                      0.4    $580.00            $232.00                                     $0.00                                      0

                                             Review documents 3672- 3692 in support of developing Clean Water
                                             Act claims.
                   Murieta
                   Equestrian
  8/18/2021 CCKA   Center     C. Hudak                                                                                      1.9    $580.00           $1,102.00                                    $0.00                                      0

                                             Review documents 1961-2575 in support of developing Clean Water
                                             Act claims.
                   Murieta
                   Equestrian
  8/18/2021 CCKA   Center     C. Hudak                                                                                      1.8    $580.00           $1,044.00                                    $0.00                                      0

                                             Review documents 2576-3217 in support of developing Clean Water
                                             Act Claims.
                   Murieta
                   Equestrian
  8/18/2021 CCKA   Center     C. Hudak                                                                                      1.8    $580.00           $1,044.00                                    $0.00                                      0

                                             Analyze documents 3218 -3671 in support of developing Clean Water
                                             Act claims.
                   Murieta
                   Equestrian
  8/18/2021 CCKA   Center     C. Hudak                                                                                      1.5    $580.00            $870.00                                     $0.00                                      0




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                                             Analyze documents 3787-3907 in support of developing Clean Water Act
                                             claims.
                   Murieta
                   Equestrian
  8/19/2021 CCKA   Center     C. Hudak                                                                                      1.9    $580.00           $1,102.00                                    $0.00                                     0

                                             Analyze documents 3693-3786 in support of developing Clean Water Act
                                             claims.
                   Murieta
                   Equestrian
  8/19/2021 CCKA   Center     C. Hudak                                                                                      1.5    $580.00            $870.00                                     $0.00                                     0

                                             Analyze documents 3908-3954 in support of developing Clean Water Act
                                             claims.
                   Murieta
                   Equestrian
  8/19/2021 CCKA   Center     C. Hudak                                                                                      0.7    $580.00            $406.00                                     $0.00                                     0

                                             Analyze documents 4188-4330 in support of developing Clean Water
                                             Act claims.
                   Murieta
                   Equestrian
  8/24/2021 CCKA   Center     C. Hudak                                                                                      2.0    $580.00           $1,160.00                                    $0.00                                     0

                                             Analyze documents 4063- 4187 in support of developing Clean Water
                                             Act claims.
                   Murieta
                   Equestrian
  8/24/2021 CCKA   Center     C. Hudak                                                                                      1.9    $580.00           $1,102.00                                    $0.00                                     0

                                             Review documents 3956 to 4062 in support of developing Clean Water
                                             Act claims.
                   Murieta
                   Equestrian
  8/24/2021 CCKA   Center     C. Hudak                                                                                      1.9    $580.00           $1,102.00                                    $0.00                                     0

                                             Analyze documents 4331- 4531 in support of developing Clean Water
                                             Act claims.
                   Murieta
                   Equestrian
  8/24/2021 CCKA   Center     C. Hudak                                                                                      0.9    $580.00            $522.00                                     $0.00                                     0

                                             Analyze documents 4673- 4862 in support of developing Clean Water
                                             Act claims.
                   Murieta
                   Equestrian
  8/25/2021 CCKA   Center     C. Hudak                                                                                      1.9    $580.00           $1,102.00                                    $0.00                                     0

                                             Analyze documents 4532-4672 in support of developing Clean Water Act
                                             claims.
                   Murieta
                   Equestrian
  8/25/2021 CCKA   Center     C. Hudak                                                                                      1.8    $580.00           $1,044.00                                    $0.00                                     0

                                             Analyze documents 4863- 5089 in support of developing Clean Water
                                             Act claims.
                   Murieta
                   Equestrian
  8/25/2021 CCKA   Center     C. Hudak                                                                                      1.7    $580.00            $986.00                                     $0.00                                     0




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                                             Respond to email from J. Flanders re: Murieta Equestrian Center
                                             insurance policies; draft Requests for Production 2 in support of re:
                   Murieta                   same.
                   Equestrian
  8/25/2021 CCKA   Center     C. Hudak                                                                                       1.1    $580.00              $0.00                                $638.00                                        1.1

                                             Upload produced documents to document review software, and review
                                             produced documents.
                   Murieta
                   Equestrian
  8/26/2021 CCKA   Center     C. Hudak                                                                                       1.1    $580.00              $0.00                                $638.00                                        1.1

                                             Analyze documents 5090-5335 in support of developing Clean Water Act
                                             claims.
                   Murieta
                   Equestrian
  8/26/2021 CCKA   Center     C. Hudak                                                                                       1.8    $580.00           $1,044.00                                    $0.00                                      0

                                             Analyze documents 6323 to 6469 in support of developing Clean Water
                                             Act claims.
                   Murieta
                   Equestrian
  8/30/2021 CCKA   Center     C. Hudak                                                                                       1.9    $580.00           $1,102.00                                    $0.00                                      0

                                             Analyze documents 6469 -6710 in support of developing Clean Water
                                             Act claims.
                   Murieta
                   Equestrian
  8/30/2021 CCKA   Center     C. Hudak                                                                                       1.8    $580.00           $1,044.00                                    $0.00                                      0

                                             Analyze documents 5336- in support of developing Clean Water Act
                                             claims.
                   Murieta
                   Equestrian
  8/30/2021 CCKA   Center     C. Hudak                                                                                       1.0    $580.00            $580.00                                     $0.00                                      0

                                             Review documents 7054 - 7398 in support of developing Clean Water
                                             Act claims.
                   Murieta
                   Equestrian
  8/31/2021 CCKA   Center     C. Hudak                                                                                       2.0    $580.00           $1,160.00                                    $0.00                                      0

                                             Analyze documents 6711- 7053 in support of developing Clean Water
                                             Act claims.
                   Murieta
                   Equestrian
  8/31/2021 CCKA   Center     C. Hudak                                                                                       1.9    $580.00           $1,102.00                                    $0.00                                      0

                                             Analyze documents 7398 to 7510 in support of developing Clean Water
                                             Act claims.
                   Murieta
                   Equestrian
  8/31/2021 CCKA   Center     C. Hudak                                                                                       1.9    $580.00           $1,102.00                                    $0.00                                      0

                                             Analysis of documents 7510 to 7513 in support of developing Clean
                                             Water Act claims.
                   Murieta
                   Equestrian
  8/31/2021 CCKA   Center     C. Hudak                                                                                       0.4    $580.00            $232.00                                     $0.00                                      0




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                                             Call with J. Flanders re: document review, subpoenas needed, insurance
                                             document requests for production.
                   Murieta
                   Equestrian
  8/31/2021 CCKA   Center     C. Hudak                                                                                            0.3    $580.00              $0.00                                $174.00                                        0.3

                                             Call with J. Flanders re: review of document production.

                   Murieta
                   Equestrian
   9/1/2021 CCKA   Center     C. Hudak                                                                                            0.2    $580.00              $0.00                                $116.00                                        0.2

                                             Analysis of horse numbers at Murieta Equestrian Center and dates,
                                             based on documents produced, in support of drafting subpoenas to
                   Murieta                   develop Clean Water Act claims.
                   Equestrian
   9/1/2021 CCKA   Center     C. Hudak                                                                                            1.9    $580.00              $0.00                              $1,102.00                                        1.9

                                             Emails with D. Hunt re: call; set up call; share documents with D. Hunt.

                   Murieta
                   Equestrian
   9/1/2021 CCKA   Center     C. Hudak                                                                                            0.1    $580.00              $0.00                                 $58.00                                        0.1

                                             Analyze documents 5473-5502 in support of developing Clean Water Act
                                             claims.
                   Murieta
                   Equestrian
   9/1/2021 CCKA   Center     C. Hudak                                                                                            1.8    $580.00           $1,044.00                                    $0.00                                      0

                                             Further analysis of documents produced and make binders of hot
                                             documents; email to D. Hunt at California Coastkeeper Alliance re: call to
                   Murieta                   discuss document review.
                   Equestrian
   9/1/2021 CCKA   Center     C. Hudak                                                                                            1.7    $580.00            $986.00                                     $0.00                                      0

                                             Further analysis of horse numbers at Murieta Equestrian Center and
                                             dates, based on documents produced, in support of developing
                   Murieta                   subpoenas for Clean Water Act claims.
                   Equestrian
   9/1/2021 CCKA   Center     C. Hudak                                                                                            0.4    $580.00            $232.00                                     $0.00                                      0

                                             Telephone call with D. Hunt and C. Capps re: document review.

                   Murieta
                   Equestrian
   9/2/2021 CCKA   Center     C. Hudak                                                                                            1.0    $580.00            $580.00                                     $0.00                                      0

                                             Analyze documents 5503 to 5638 in support of developing Clean Water
                                             Act claims.
                   Murieta
                   Equestrian
   9/2/2021 CCKA   Center     C. Hudak                                                                                            1.9    $580.00           $1,102.00                                    $0.00                                      0

                                             Analysis of documents for horse number on specific dates in support of
                                             developing subpoenas.
                   Murieta
                   Equestrian
   9/2/2021 CCKA   Center     C. Hudak                                                                                            1.8    $580.00           $1,044.00                                    $0.00                                      0




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                                             Email to D. Hunt and co-counsel regarding document review protocols;
                                             draft document review key; sort out uploads on document review
                   Murieta                   software, in support of developing Clean Water Act claims.
                   Equestrian
   9/2/2021 CCKA   Center     C. Hudak                                                                                      1.8    $580.00           $1,044.00                                    $0.00                                      0

                                             Upload production documents 21323-26265 to document review
                                             software.
                   Murieta
                   Equestrian
   9/7/2021 CCKA   Center     C. Hudak                                                                                      0.1    $218.00              $0.00                                 $21.80                                        0.1

                                             Analyze documents 5748-5898 in support of developing Clean Water Act
                                             claims.
                   Murieta
                   Equestrian
   9/7/2021 CCKA   Center     C. Hudak                                                                                      1.8    $580.00           $1,044.00                                    $0.00                                      0

                                             Analyze documents 5899- 6136 in support of developing Clean Water
                                             Act claims.
                   Murieta
                   Equestrian
   9/7/2021 CCKA   Center     C. Hudak                                                                                      1.8    $580.00           $1,044.00                                    $0.00                                      0

                                             Analyze documents 5639 - 5747 SO developing Clean Water Act claims.

                   Murieta
                   Equestrian
   9/7/2021 CCKA   Center     C. Hudak                                                                                      1.7    $580.00            $986.00                                     $0.00                                      0

                                             Analyze documents 6137 - 6205 in support of developing Clean Water
                                             Act claims.
                   Murieta
                   Equestrian
   9/7/2021 CCKA   Center     C. Hudak                                                                                      0.5    $580.00            $290.00                                     $0.00                                      0

                                             Add documents 21323-26265 to project review software subfolder.

                   Murieta
                   Equestrian
   9/8/2021 CCKA   Center     C. Hudak                                                                                      0.1    $218.00              $0.00                                 $21.80                                        0.1

                                             Analyze documents 6206-6322 in support of developing Clean Water Act
                                             claims.
                   Murieta
                   Equestrian
   9/8/2021 CCKA   Center     C. Hudak                                                                                      1.7    $580.00            $986.00                                     $0.00                                      0

                                             Analyze documents 7513-7727 in support of developing Clean Water Act
                                             claims.
                   Murieta
                   Equestrian
   9/9/2021 CCKA   Center     C. Hudak                                                                                      1.8    $580.00           $1,044.00                                    $0.00                                      0

                                             Analyze documents 7728 - 8019 in support of developing Clean Water
                                             Act claims.
                   Murieta
                   Equestrian
   9/9/2021 CCKA   Center     C. Hudak                                                                                      1.6    $580.00            $928.00                                     $0.00                                      0




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                                             Analyze documents 8019 - 8211 in support of developing Clean Water
                                             Act claims.
                   Murieta
                   Equestrian
  9/10/2021 CCKA   Center     C. Hudak                                                                                       1.8    $580.00           $1,044.00                                    $0.00                                     0

                                             Email with co-counsel at California Coastkeeper Alliance re: document
                                             review question; analyze documents 8212 - 8457 in support of
                   Murieta                   developing Clean Water Act claims.
                   Equestrian
  9/14/2021 CCKA   Center     C. Hudak                                                                                       1.9    $580.00           $1,102.00                                    $0.00                                     0

                                             Analyze documents 8741- 9180 in support of developing Clean Water
                                             Act claims.
                   Murieta
                   Equestrian
  9/14/2021 CCKA   Center     C. Hudak                                                                                       1.8    $580.00           $1,044.00                                    $0.00                                     0

                                             Analyze documents 8458 - 8741 in support of developing Clean Water
                                             Act claims.
                   Murieta
                   Equestrian
  9/14/2021 CCKA   Center     C. Hudak                                                                                       1.8    $580.00           $1,044.00                                    $0.00                                     0

                                             Analyze documents 9181- 9277 in support of developing Clean Water
                                             Act claims.
                   Murieta
                   Equestrian
  9/14/2021 CCKA   Center     C. Hudak                                                                                       0.8    $580.00            $464.00                                     $0.00                                     0

                                             Call with J. Flanders re: document review and mediation brief.

                   Murieta
                   Equestrian
  9/15/2021 CCKA   Center     C. Hudak                                                                                       0.2    $580.00            $116.00                                     $0.00                                     0

                                             Analyze documents 9504-9718 in support of developing Clean Water Act
                                             claims.
                   Murieta
                   Equestrian
  9/15/2021 CCKA   Center     C. Hudak                                                                                       1.9    $580.00           $1,102.00                                    $0.00                                     0

                                             Analyze documents 9277- 9503 in support of developing Clean Water
                                             Act claims; email to co-counsel re: meet and confer letter.
                   Murieta
                   Equestrian
  9/15/2021 CCKA   Center     C. Hudak                                                                                       1.8    $580.00           $1,044.00                                    $0.00                                     0

                                             Analyze documents 9718 - 10086 in support of developing Clean Water
                                             Act claims.
                   Murieta
                   Equestrian
  9/15/2021 CCKA   Center     C. Hudak                                                                                       1.8    $580.00           $1,044.00                                    $0.00                                     0

                                             Analyze documents 10087- 10285 in support of developing Clean Water
                                             Act claims.
                   Murieta
                   Equestrian
  9/15/2021 CCKA   Center     C. Hudak                                                                                       1.3    $580.00            $754.00                                     $0.00                                     0




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                                             Further analysis of DOC000001 in support of developing evidence that
                                             the Facility qualifies as a Concentrated Animal Feeding Operation.
                   Murieta
                   Equestrian
  9/16/2021 CCKA   Center     C. Hudak                                                                                        1.9    $580.00           $1,102.00                                    $0.00                                      0

                                             Analyze spreadsheet of DOC000001 in support of developing evidence
                                             that Facility qualifies as a Concentrated Animal Feeding Operation.
                   Murieta
                   Equestrian
  9/16/2021 CCKA   Center     C. Hudak                                                                                        1.8    $580.00           $1,044.00                                    $0.00                                      0

                                             Analyze documents 10286 to 10560 in support of developing Clean
                                             Water Act claims.
                   Murieta
                   Equestrian
  9/16/2021 CCKA   Center     C. Hudak                                                                                        1.6    $580.00            $928.00                                     $0.00                                      0

                                             Analyze 10562- 10960 in support of developing Clean Water Act claims.

                   Murieta
                   Equestrian
  9/20/2021 CCKA   Center     C. Hudak                                                                                        1.7    $580.00            $986.00                                     $0.00                                      0

                                             Draft shell of settlement conference brief.

                   Murieta
                   Equestrian
  9/20/2021 CCKA   Center     C. Hudak                                                                                        0.1    $580.00             $58.00                                     $0.00                                      0

                                             Analyze documents 10961- 11322 in support of developing Clean Water
                                             Act claims.
                   Murieta
                   Equestrian
  9/21/2021 CCKA   Center     C. Hudak                                                                                        1.5    $580.00            $870.00                                     $0.00                                      0

                                             Further analysis of projected horse numbers at Facility in support of
                                             developing claims.
                   Murieta
                   Equestrian
  9/22/2021 CCKA   Center     C. Hudak                                                                                        1.3    $580.00              $0.00                                $754.00                                        1.3

                                             Draft settlement conference statement facts, legal background, outline
                                             strength of claims.
                   Murieta
                   Equestrian
  9/22/2021 CCKA   Center     C. Hudak                                                                                        0.9    $580.00              $0.00                                $522.00                                        0.9

                                             Further drafting of settlement conference statement - legal claims
                                             sections, edits to Concentrated Animal Feeding Operation section.
                   Murieta
                   Equestrian
  9/22/2021 CCKA   Center     C. Hudak                                                                                        1.8    $580.00           $1,044.00                                    $0.00                                      0

                                             Further analysis of DOC000001, in support of developing projected
                                             horse numbers at facility.
                   Murieta
                   Equestrian
  9/22/2021 CCKA   Center     C. Hudak                                                                                        1.6    $580.00            $928.00                                     $0.00                                      0




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                                             Draft settlement conference statement - strength of Clean Water Act
                                             claims argument.
                   Murieta
                   Equestrian
  9/22/2021 CCKA   Center     C. Hudak                                                                                        1.1    $580.00            $638.00                                     $0.00                                      0

                                             Further drafting of settlement conference statement Concentrated
                                             Animal Feeding Operation section and general edits.
                   Murieta
                   Equestrian
  9/23/2021 CCKA   Center     C. Hudak                                                                                        1.2    $580.00            $696.00                                     $0.00                                      0

                                             Analyze initial disclosures insurance policy.

                   Murieta
                   Equestrian
  9/23/2021 CCKA   Center     C. Hudak                                                                                        0.7    $580.00            $406.00                                     $0.00                                      0

                                             Further analysis of projected horse numbers in DOC00001 in support of
                                             developing Clean Water Act claims.
                   Murieta
                   Equestrian
  9/28/2021 CCKA   Center     C. Hudak                                                                                        0.8    $580.00              $0.00                                $464.00                                        0.8

                                             Further analysis of insurance related documents received in discovery;
                                             draft Requests for Production 2.
                   Murieta
                   Equestrian
  9/28/2021 CCKA   Center     C. Hudak                                                                                        1.0    $580.00            $580.00                                     $0.00                                      0

                                             Revise settlement conference statement.

                   Murieta
                   Equestrian
  9/28/2021 CCKA   Center     C. Hudak                                                                                        1.0    $580.00            $580.00                                     $0.00                                      0

                                             Download and begin review of documents.

                   Murieta
                   Equestrian
  10/5/2021 CCKA   Center     C. Hudak                                                                                        1.0    $580.00              $0.00                                $580.00                                         1

                                             Legal research regarding standing witness disclosure.

                   Murieta
                   Equestrian
  10/6/2021 CCKA   Center     C. Hudak                                                                                        1.8    $580.00           $1,044.00                                    $0.00                                      0

                                             Further legal research re: standing witnesses.

                   Murieta
                   Equestrian
  10/6/2021 CCKA   Center     C. Hudak                                                                                        1.5    $580.00            $870.00                                     $0.00                                      0

                                             Strategize with J. Flanders re: review of supplemental document
                                             production by Defendant's and review documents.
                   Murieta
                   Equestrian
  10/7/2021 CCKA   Center     C. Hudak                                                                                        0.4    $580.00              $0.00                                $232.00                                        0.4




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                                             Analysis of supplemental document production in support of determining
                                             whether it was sufficient.
                   Murieta
                   Equestrian
 10/12/2021 CCKA   Center     C. Hudak                                                                                          1.9    $580.00           $1,102.00                                    $0.00                                      0

                                             Further analysis of supplemental production of documents.

                   Murieta
                   Equestrian
 10/13/2021 CCKA   Center     C. Hudak                                                                                          1.5    $580.00              $0.00                                $870.00                                        1.5

                                             Further analysis of deficiencies in supplemental Requests for Production
                                             .
                   Murieta
                   Equestrian
 10/13/2021 CCKA   Center     C. Hudak                                                                                          1.9    $580.00           $1,102.00                                    $0.00                                      0

                                             Further analysis of supplemental production in support of developing
                                             claims.
                   Murieta
                   Equestrian
 10/13/2021 CCKA   Center     C. Hudak                                                                                          1.0    $580.00            $580.00                                     $0.00                                      0

                                             Transfer production to online review software.

                   Murieta
                   Equestrian
 10/14/2021 CCKA   Center     C. Hudak                                                                                          0.7    $218.00              $0.00                                $152.60                                        0.7

                                             Further analysis of supplemental production in support of developing
                                             claims.
                   Murieta
                   Equestrian
 10/14/2021 CCKA   Center     C. Hudak                                                                                          0.4    $580.00              $0.00                                $232.00                                        0.4

                                             Further analysis of supplemental production.

                   Murieta
                   Equestrian
 10/19/2021 CCKA   Center     C. Hudak                                                                                          1.9    $580.00           $1,102.00                                    $0.00                                      0

                                             Analyze supplemental production in support of developing Clean Water
                                             Act claims.
                   Murieta
                   Equestrian
 10/19/2021 CCKA   Center     C. Hudak                                                                                          1.7    $580.00            $986.00                                     $0.00                                      0

                                             Further analysis of supplemental production documents.

                   Murieta
                   Equestrian
 10/19/2021 CCKA   Center     C. Hudak                                                                                          1.4    $580.00            $812.00                                     $0.00                                      0

                                             Further analysis of supplemental Requests for Production documents in
                                             support of developing Clean Water Act claims.
                   Murieta
                   Equestrian
 10/20/2021 CCKA   Center     C. Hudak                                                                                          1.0    $580.00              $0.00                                $580.00                                         1




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                                             Analyze supplemental production in support of developing Clean Water
                                             Act claims.
                   Murieta
                   Equestrian
 10/21/2021 CCKA   Center     C. Hudak                                                                                         1.0    $580.00              $0.00                                $580.00                                        1

                                             Draft objections to deposition notice by Defendants.

                   Murieta
                   Equestrian
 10/21/2021 CCKA   Center     C. Hudak                                                                                         1.9    $580.00           $1,102.00                                    $0.00                                     0

                                             Further analysis of supplemental documents produced by Defendants in
                                             support of developing Clean Water Act claims.
                   Murieta
                   Equestrian
 10/21/2021 CCKA   Center     C. Hudak                                                                                         1.7    $580.00            $986.00                                     $0.00                                     0

                                             Further analysis of document production; email to J. Flanders re: same.

                   Murieta
                   Equestrian
 10/25/2021 CCKA   Center     C. Hudak                                                                                         0.5    $580.00            $290.00                                     $0.00                                     0

                                             Call with J. Flanders to strategize re: meet and confer, review of
                                             supplemental documents, and possible Motion to Compel.
                   Murieta
                   Equestrian
 10/25/2021 CCKA   Center     C. Hudak                                                                                         0.4    $580.00            $232.00                                     $0.00                                     0

                                             Analyze documents 14036 - 14696 in support of developing Clean Water
                                             Act claims.
                   Murieta
                   Equestrian
 10/28/2021 CCKA   Center     C. Hudak                                                                                         1.9    $580.00           $1,102.00                                    $0.00                                     0

                                             Analyze SUPDDOC13680 to 14035 in support of developing Clean
                                             Water Act claims; research on Murieta Gardens marketplace and
                   Murieta                   associated developments in support of document review.
                   Equestrian
 10/28/2021 CCKA   Center     C. Hudak                                                                                         1.6    $580.00            $928.00                                     $0.00                                     0

                                             Review and respond to email from Clients re: document review;
                                             research on relevancy of subtypes of documents produced to aid
                   Murieta                   detailed review.
                   Equestrian
 10/28/2021 CCKA   Center     C. Hudak                                                                                         1.6    $580.00            $928.00                                     $0.00                                     0

                                             Analyze documents 14697- 15274 in support of developing Clean Water
                                             Act claims.
                   Murieta
                   Equestrian
 10/29/2021 CCKA   Center     C. Hudak                                                                                         0.9    $580.00            $522.00                                     $0.00                                     0

                                             Analyze SUPDOC 15275 - 15302 in support of developing Clean Water
                                             Act claims.
                   Murieta
                   Equestrian
 10/29/2021 CCKA   Center     C. Hudak                                                                                         0.2    $580.00            $116.00                                     $0.00                                     0




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                                             Review documents 15303-16408; strategize with J. Flanders re: same;
                                             select documents pertaining to Best Management Practices for expert.
                   Murieta
                   Equestrian
  11/2/2021 CCKA   Center     C. Hudak                                                                                       1.6    $580.00            $928.00                                     $0.00                                      0

                                             Further selection of documents relating to Best Management Practices
                                             for expert.
                   Murieta
                   Equestrian
  11/2/2021 CCKA   Center     C. Hudak                                                                                       1.3    $580.00            $754.00                                     $0.00                                      0

                                             Analyze documents ___ to 18766 in support of developing Clean Water
                                             Act claims.
                   Murieta
                   Equestrian
  11/3/2021 CCKA   Center     C. Hudak                                                                                       2.0    $580.00              $0.00                              $1,160.00                                         2

                                             Sort documents for expert review.

                   Murieta
                   Equestrian
  11/3/2021 CCKA   Center     C. Hudak                                                                                       2.3    $580.00           $1,334.00                                    $0.00                                      0

                                             Review 18767 - 19166 in support of developing Clean Water Act claims.

                   Murieta
                   Equestrian
  11/3/2021 CCKA   Center     C. Hudak                                                                                       0.7    $580.00            $406.00                                     $0.00                                      0

                                             Call with Carson Capps re: meet and confer; analyze documents in
                                             support of same.
                   Murieta
                   Equestrian
  11/4/2021 CCKA   Center     C. Hudak                                                                                       0.5    $580.00              $0.00                                $290.00                                        0.5

                                             Analyze documents 19167 - 20783 in support of developing Clean Water
                                             Act claims.
                   Murieta
                   Equestrian
  11/4/2021 CCKA   Center     C. Hudak                                                                                       1.8    $580.00           $1,044.00                                    $0.00                                      0

                                             Analyze documents 20784 - 26372 in support of developing Clean Water
                                             Act claims.
                   Murieta
                   Equestrian
  11/4/2021 CCKA   Center     C. Hudak                                                                                       1.7    $580.00            $986.00                                     $0.00                                      0

                                             Analyze documents 26373-31216 in support of developing Clean Water
                                             Act claims.
                   Murieta
                   Equestrian
  11/4/2021 CCKA   Center     C. Hudak                                                                                       0.7    $580.00            $406.00                                     $0.00                                      0

                                             Further analysis of response to Requests for Production 2 to asses
                                             compliance with request; draft meet and confer re: same.
                   Murieta
                   Equestrian
  11/9/2021 CCKA   Center     C. Hudak                                                                                       1.8    $580.00              $0.00                              $1,044.00                                        1.8




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                                             Analyze documents 48752-50385 to assess compliance with Requests
                                             for Production 2.
                   Murieta
                   Equestrian
  11/9/2021 CCKA   Center     C. Hudak                                                                                          1.7    $580.00            $986.00                                     $0.00                                      0

                                             Further drafting of meet and confer letter re: responses to Requests for
                                             Production Set 2, and send to J. Flanders.
                   Murieta
                   Equestrian
  11/9/2021 CCKA   Center     C. Hudak                                                                                          1.3    $580.00            $754.00                                     $0.00                                      0

                                             Locate and send pertinent documents/analysis of Murieta Equestrian
                                             Center's status as Concentrated Animal Feeding Operation to T. Brett.
                   Murieta
                   Equestrian
 11/10/2021 CCKA   Center     C. Hudak                                                                                          0.5    $580.00            $290.00                                     $0.00                                      0

                                             Review email from opposing counsel and subsequent email from co-
                                             counsel re: discovery production; legal research re: Clean Water Act in
                   Murieta                   support of settlement conference.
                   Equestrian
 11/30/2021 CCKA   Center     C. Hudak                                                                                          2.1    $580.00              $0.00                              $1,218.00                                        2.1

                                             Strategize with TB re: question on discovery responses by defendants.

                   Murieta
                   Equestrian
 12/21/2021 CCKA   Center     C. Hudak                                                                                          0.1    $580.00              $0.00                                 $58.00                                        0.1

                                             Assess DOC000001 production date and email to TB re: same

                   Murieta
                   Equestrian
  1/18/2022 CCKA   Center     C. Hudak                                                                                          0.4    $580.00              $0.00                                $232.00                                        0.4

                                             Assess DOC000001 production date and email to TB re: same

                   Murieta
                   Equestrian
  1/18/2022 CCKA   Center     C. Hudak                                                                                          0.4    $580.00            $232.00                                     $0.00                                      0

                                             Call with J. Flanders re: subpoenas to U.S. Army Corps of Engineers
                                             and USGS; collect materials for drafting of subpoenas
                   Murieta
                   Equestrian
   2/3/2022 CCKA   Center     C. Hudak                                                                                          0.3    $580.00            $174.00                                     $0.00                                      0

                                             Further drafting of ACOE subpoena documents

                   Murieta
                   Equestrian
   2/4/2022 CCKA   Center     C. Hudak                                                                                          1.8    $580.00              $0.00                              $1,044.00                                        1.8

                                             Draft subpoena to ACOE

                   Murieta
                   Equestrian
   2/4/2022 CCKA   Center     C. Hudak                                                                                          1.9    $580.00           $1,102.00                                    $0.00                                      0




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                                             Edits to U.S. Army Corps of Engineers subpoena documents

                   Murieta
                   Equestrian
   2/4/2022 CCKA   Center     C. Hudak                                                                                           1.5    $580.00            $870.00                                     $0.00                                      0

                                             Update U.S. Army Corps of Engineers subpoena per J. Flanders
                                             request.
                   Murieta
                   Equestrian
   2/8/2022 CCKA   Center     C. Hudak                                                                                           1.8    $580.00           $1,044.00                                    $0.00                                      0

                                             Draft Subpoena to Regional Water Board

                   Murieta
                   Equestrian
   2/8/2022 CCKA   Center     C. Hudak                                                                                           1.5    $580.00            $870.00                                     $0.00                                      0

                                             Further revisions to U.S. Army Corps of Engineers subpoena per J.
                                             Flanders request.
                   Murieta
                   Equestrian
   2/8/2022 CCKA   Center     C. Hudak                                                                                           0.9    $580.00            $522.00                                     $0.00                                      0

                                             Draft subpoena to DFW

                   Murieta
                   Equestrian
   2/8/2022 CCKA   Center     C. Hudak                                                                                           0.6    $580.00            $348.00                                     $0.00                                      0

                                             Call with J. Flanders re: 303(d) listing, email to client re: same

                   Murieta
                   Equestrian
   2/9/2022 CCKA   Center     C. Hudak                                                                                           0.1    $580.00             $58.00                                     $0.00                                      0

                                             Strategize with J. Flanders re: water board subpoena re: information on
                                             bacteria listing for Cosumnes river; online search of relevant materials;
                   Murieta                   revise subpoena materials
                   Equestrian
   2/9/2022 CCKA   Center     C. Hudak                                                                                           2.5    $580.00           $1,450.00                                    $0.00                                      0

                                             Strategize with J. Flanders re: next steps

                   Murieta
                   Equestrian
  4/14/2022 CCKA   Center     C. Hudak                                                                                           0.1    $580.00              $0.00                                 $58.00                                        0.1

                                             Research on water testing laboratories in support of testing at Facility

                   Murieta
                   Equestrian
  4/20/2022 CCKA   Center     C. Hudak                                                                                           1.3    $580.00              $0.00                                $754.00                                        1.3

                                             Strategize with J. Flanders re: lab sampling

                   Murieta
                   Equestrian
  4/20/2022 CCKA   Center     C. Hudak                                                                                           0.1    $580.00              $0.00                                 $58.00                                        0.1




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                                             Strategize with E. Bustos re: document management (.4); call with
                                             Everlaw re: same (.7)
                   Murieta
                   Equestrian
  4/21/2022 CCKA   Center     C. Hudak                                                                                          1.1    $580.00             $0.00                               $638.00                                        1.1

                                             Further calls re: Everlaw document management; analysis of documents
                                             re: same
                   Murieta
                   Equestrian
  4/21/2022 CCKA   Center     C. Hudak                                                                                          0.7    $580.00             $0.00                               $406.00                                        0.7

                                             Call from lab re: speed of turnaround time

                   Murieta
                   Equestrian
  4/21/2022 CCKA   Center     C. Hudak                                                                                          0.1    $580.00             $0.00                                $58.00                                        0.1

                                             Strategize with J. Flanders re: Def's discovery productions

                   Murieta
                   Equestrian
  4/23/2022 CCKA   Center     C. Hudak                                                                                          0.2    $580.00           $116.00                                    $0.00                                      0

                                             Strategize with J. Flanders re: next steps

                   Murieta
                   Equestrian
  4/27/2022 CCKA   Center     C. Hudak                                                                                          0.1    $580.00            $58.00                                    $0.00                                      0

                                             Assess discovery production compliance and centralize document
                                             productions
                   Murieta
                   Equestrian
  4/28/2022 CCKA   Center     C. Hudak                                                                                          1.0    $580.00           $580.00                                    $0.00                                      0

                                             Call with E. Bustos re: document production management

                   Murieta
                   Equestrian
   5/4/2022 CCKA   Center     C. Hudak                                                                                          0.2    $580.00             $0.00                               $116.00                                        0.2

                                             Strategize with J. Flanders re: discovery responses

                   Murieta
                   Equestrian
  5/12/2022 CCKA   Center     C. Hudak                                                                                          0.1    $580.00             $0.00                                $58.00                                        0.1

                                             Review/analyze Defendant's interrogatories; prepare of shell of response

                   Murieta
                   Equestrian
  5/16/2022 CCKA   Center     C. Hudak                                                                                          0.9    $580.00             $0.00                               $522.00                                        0.9

                                             Review Defendant's Requests for Production 2 request; strategize with
                                             J. Flanders re: same; draft shell of response; outline responses
                   Murieta
                   Equestrian
  5/16/2022 CCKA   Center     C. Hudak                                                                                          1.5    $580.00           $870.00                                    $0.00                                      0




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                                             Further development of responses to Requests for Production requests

                   Murieta
                   Equestrian
  5/17/2022 CCKA   Center     C. Hudak                                                                                          0.2    $580.00              $0.00                                $116.00                                        0.2

                                             Assess completeness of document productions to date

                   Murieta
                   Equestrian
  5/17/2022 CCKA   Center     C. Hudak                                                                                          1.9    $580.00           $1,102.00                                    $0.00                                      0

                                             Further assessment of completeness of document productions to date

                   Murieta
                   Equestrian
  5/17/2022 CCKA   Center     C. Hudak                                                                                          1.1    $580.00            $638.00                                     $0.00                                      0

                                             Strategize with E. Bustos re: Murieta Equestrian Center document
                                             productions in support of Requests for Production responses; further
                   Murieta                   revision to master tracking sheet of documents
                   Equestrian
  5/18/2022 CCKA   Center     C. Hudak                                                                                          1.9    $580.00              $0.00                              $1,102.00                                        1.9

                                             Assess document productions to date for completeness; organize and
                                             centralize; strategize with E. Bustos in support of same
                   Murieta
                   Equestrian
  5/18/2022 CCKA   Center     C. Hudak                                                                                          1.8    $580.00              $0.00                              $1,044.00                                        1.8

                                             Analyze document requests including overlaps to set 1 in support of
                                             developing responses
                   Murieta
                   Equestrian
  5/18/2022 CCKA   Center     C. Hudak                                                                                          1.3    $580.00            $754.00                                     $0.00                                      0

                                             Further analysis of Requests for Production to Plaintiff in support of
                                             developing responses
                   Murieta
                   Equestrian
  5/18/2022 CCKA   Center     C. Hudak                                                                                          0.5    $580.00            $290.00                                     $0.00                                      0

                                             Strategize with J. Flanders and D. Hunt re: Requests for Production 2
                                             response
                   Murieta
                   Equestrian
  5/19/2022 CCKA   Center     C. Hudak                                                                                          1.3    $580.00            $754.00                                     $0.00                                      0

                                             Draft RFPD 2 responses (1.6); strategize with J. Flanders re: same (.2);
                                             strategize with TB re: documents re: same (.1)
                   Murieta
                   Equestrian
  5/24/2022 CCKA   Center     C. Hudak                                                                                          1.9    $580.00           $1,102.00                                    $0.00                                      0

                                             Draft interrogatory 1 to Plaintiff responses

                   Murieta
                   Equestrian
  5/24/2022 CCKA   Center     C. Hudak                                                                                          1.8    $580.00           $1,044.00                                    $0.00                                      0




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                                             Draft response to Requests for Production 2 requests

                   Murieta
                   Equestrian
  5/24/2022 CCKA   Center     C. Hudak                                                                                     1.7    $580.00            $986.00                                     $0.00                                      0

                                             Further drafting of Plaintiff's Requests for Production 2 responses

                   Murieta
                   Equestrian
  5/24/2022 CCKA   Center     C. Hudak                                                                                     1.3    $580.00            $754.00                                     $0.00                                      0

                                             Further drafting of Requests for Production response

                   Murieta
                   Equestrian
  5/25/2022 CCKA   Center     C. Hudak                                                                                     1.5    $580.00              $0.00                                $870.00                                        1.5

                                             Draft interrogatory 1 responses

                   Murieta
                   Equestrian
  5/25/2022 CCKA   Center     C. Hudak                                                                                     0.8    $580.00              $0.00                                $464.00                                        0.8

                                             Further drafting of Requests for Production 2 responses

                   Murieta
                   Equestrian
  5/25/2022 CCKA   Center     C. Hudak                                                                                     1.9    $580.00           $1,102.00                                    $0.00                                      0

                                             Draft Requests for Production 2 responses

                   Murieta
                   Equestrian
  5/25/2022 CCKA   Center     C. Hudak                                                                                     1.7    $580.00            $986.00                                     $0.00                                      0

                                             Further drafting of Requests for Production 2 response

                   Murieta
                   Equestrian
  5/26/2022 CCKA   Center     C. Hudak                                                                                     1.3    $580.00              $0.00                                $754.00                                        1.3

                                             Draft Requests for Production 2 responses

                   Murieta
                   Equestrian
  5/26/2022 CCKA   Center     C. Hudak                                                                                     1.9    $580.00           $1,102.00                                    $0.00                                      0

                                             Additional drafting of Requests for Production 2 responses

                   Murieta
                   Equestrian
  5/26/2022 CCKA   Center     C. Hudak                                                                                     1.8    $580.00           $1,044.00                                    $0.00                                      0

                                             Further drafting of Requests for Production response

                   Murieta
                   Equestrian
  5/26/2022 CCKA   Center     C. Hudak                                                                                     1.6    $580.00            $928.00                                     $0.00                                      0




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                                             Draft interrogatory responses

                   Murieta
                   Equestrian
  5/26/2022 CCKA   Center     C. Hudak                                                                                          1.4    $580.00            $812.00                                     $0.00                                      0

                                             Edits to Requests for Production 2 responses

                   Murieta
                   Equestrian
  5/31/2022 CCKA   Center     C. Hudak                                                                                          1.2    $580.00              $0.00                                $696.00                                        1.2

                                             Additional drafting and edits of responses to Requests for Production 2.

                   Murieta
                   Equestrian
  5/31/2022 CCKA   Center     C. Hudak                                                                                          1.5    $580.00            $870.00                                     $0.00                                      0

                                             Strategize with J. Flanders re: interrogatory responses (.1); draft
                                             interrogatory responses (.9)
                   Murieta
                   Equestrian
  5/31/2022 CCKA   Center     C. Hudak                                                                                          1.0    $580.00            $580.00                                     $0.00                                      0

                                             Edits to interrogatory responses

                   Murieta
                   Equestrian
  5/31/2022 CCKA   Center     C. Hudak                                                                                          0.9    $580.00            $522.00                                     $0.00                                      0

                                             Draft interrogatory responses

                   Murieta
                   Equestrian
  5/31/2022 CCKA   Center     C. Hudak                                                                                          0.9    $580.00            $522.00                                     $0.00                                      0

                                             Call with J. Flanders re: document production

                   Murieta
                   Equestrian
   6/1/2022 CCKA   Center     C. Hudak                                                                                          0.1    $580.00              $0.00                                 $58.00                                        0.1

                                             Additional drafting of interrogatory responses

                   Murieta
                   Equestrian
   6/1/2022 CCKA   Center     C. Hudak                                                                                          1.2    $580.00              $0.00                                $696.00                                        1.2

                                             Further drafting of interrogatory responses

                   Murieta
                   Equestrian
   6/1/2022 CCKA   Center     C. Hudak                                                                                          1.9    $580.00           $1,102.00                                    $0.00                                      0

                                             Legal research in support of interrogatory responses; edits to draft

                   Murieta
                   Equestrian
   6/1/2022 CCKA   Center     C. Hudak                                                                                          1.8    $580.00           $1,044.00                                    $0.00                                      0




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                                             Further document centralization and organization in support of review
                                             and production [Overtime per J. Flanders]
                   Murieta
                   Equestrian
   6/2/2022 CCKA   Center     C. Hudak                                                                                          1.2    $580.00             $0.00                               $696.00                                        1.2

                                             Additional document centralization and organization in support of review
                                             and production; strategize with D. Hunt re: same
                   Murieta
                   Equestrian
   6/2/2022 CCKA   Center     C. Hudak                                                                                          1.9    $218.00           $414.20                                    $0.00                                      0

                                             Further document centralization and organization in support of review
                                             and production [OT per J. Flanders]
                   Murieta
                   Equestrian
   6/2/2022 CCKA   Center     C. Hudak                                                                                          1.8    $218.00           $392.40                                    $0.00                                      0

                                             Revise interrogatory responses per J. Flanders edits

                   Murieta
                   Equestrian
   6/2/2022 CCKA   Center     C. Hudak                                                                                          1.8    $218.00           $392.40                                    $0.00                                      0

                                             Further document centralization and organization in support of review
                                             and production
                   Murieta
                   Equestrian
   6/2/2022 CCKA   Center     C. Hudak                                                                                          1.7    $218.00           $370.60                                    $0.00                                      0

                                             Document centralization and organization in support of review and
                                             production.
                   Murieta
                   Equestrian
   6/2/2022 CCKA   Center     C. Hudak                                                                                          1.4    $218.00           $305.20                                    $0.00                                      0

                                             Further additions to draft interrogatory response per J. Flanders edits

                   Murieta
                   Equestrian
   6/2/2022 CCKA   Center     C. Hudak                                                                                          1.2    $218.00           $261.60                                    $0.00                                      0

                                             Additional document centralization and organization in support of review
                                             and production [OT per J. Flanders]
                   Murieta
                   Equestrian
   6/2/2022 CCKA   Center     C. Hudak                                                                                          0.8    $218.00           $174.40                                    $0.00                                      0

                                             Strategize with D. Hunt/TB/CC re: documents in support of 30 b 6 depo;
                                             call Everlaw to address uploading documents to California Coastkeeper
                   Murieta                   Alliance account; emails to group re: RFPD production; further uploads
                   Equestrian                of documents on ATA server
   6/3/2022 CCKA   Center     C. Hudak                                                                                          1.9    $580.00             $0.00                             $1,102.00                                        1.9

                                             Additional assessment of documents productions and file management
                                             in support of document review and production
                   Murieta
                   Equestrian
   6/3/2022 CCKA   Center     C. Hudak                                                                                          1.9    $218.00           $414.20                                    $0.00                                      0




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                                             Further assessment of documents productions and file management in
                                             support of document review and production
                   Murieta
                   Equestrian
   6/3/2022 CCKA   Center     C. Hudak                                                                                          1.8    $218.00           $392.40                                    $0.00                                     0

                                             Assess document productions and organize files in support of document
                                             review and production; strategize with D. Hunt and J. Flanders re: same
                   Murieta
                   Equestrian
   6/3/2022 CCKA   Center     C. Hudak                                                                                          1.2    $218.00           $261.60                                    $0.00                                     0

                                             Finalize file management in support of document review and production;
                                             email to co-counsel re: same.
                   Murieta
                   Equestrian
   6/3/2022 CCKA   Center     C. Hudak                                                                                          1.1    $218.00           $239.80                                    $0.00                                     0

                                             Strategize with J. Flanders re: documents to be used for Motion for
                                             Summary Judgment; strategize with E. Bustos and D. Hunt re: meeting
                   Murieta                   on same; review status of documents in support of same
                   Equestrian
  7/19/2022 CCKA   Center     C. Hudak                                                                                          0.8    $218.00           $174.40                                    $0.00                                     0

                                             Further indexing of file in support of Motion for Summary Judgment

                   Murieta
                   Equestrian
  7/20/2022 CCKA   Center     C. Hudak                                                                                          1.9    $218.00           $414.20                                    $0.00                                     0

                                             Call Everlaw re: sharing files between ATA and California Coastkeeper
                                             Alliance; further indexing of documents in support of Motion for Summary
                   Murieta                   Judgment
                   Equestrian
  7/20/2022 CCKA   Center     C. Hudak                                                                                          1.6    $218.00           $348.80                                    $0.00                                     0

                                             Strategize with J. Flanders, C. Capps, E. Bustos, D. Hunt re: documents
                                             for Motion for Summary Judgment (.5); index documents in support of
                   Murieta                   same (.3); strategize with E. Bustos re: indexing documents (.7)
                   Equestrian
  7/20/2022 CCKA   Center     C. Hudak                                                                                          1.5    $218.00           $327.00                                    $0.00                                     0

                                             Further indexing of documents in support of Motion for Summary
                                             Judgment
                   Murieta
                   Equestrian
  7/20/2022 CCKA   Center     C. Hudak                                                                                          0.9    $218.00           $196.20                                    $0.00                                     0

                                             Additional indexing of documents in support of Motion for Summary
                                             Judgment
                   Murieta
                   Equestrian
  7/21/2022 CCKA   Center     C. Hudak                                                                                          2.2    $218.00           $479.60                                    $0.00                                     0

                                             Further indexing of documents in support of Motion for Summary
                                             Judgment
                   Murieta
                   Equestrian
  7/21/2022 CCKA   Center     C. Hudak                                                                                          2.1    $218.00           $457.80                                    $0.00                                     0




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                                             Further indexing of documents in support of Motion for Summary
                                             Judgment
                   Murieta
                   Equestrian
  7/21/2022 CCKA   Center     C. Hudak                                                                                             1.9    $218.00           $414.20                                    $0.00                                     0

                                             Edits to index of complete file in support of Motion for Summary
                                             Judgment
                   Murieta
                   Equestrian
  7/21/2022 CCKA   Center     C. Hudak                                                                                             1.4    $218.00           $305.20                                    $0.00                                     0

                                             Teleconference with E. Bustos re: discovery spreadsheet.

                   Murieta
                   Equestrian
  7/22/2022 CCKA   Center     C. Hudak                                                                                             0.1    $218.00            $21.80                                    $0.00                                     0

                                             Follow up teleconference with C. Hudak re: defendant document
                                             productions.
                   Murieta
                   Equestrian
  7/22/2022 CCKA   Center     C. Hudak                                                                                             0.1    $218.00            $21.80                                    $0.00                                     0

                                             Edits to index of file, in support of Motion for Summary Judgment

                   Murieta
                   Equestrian
  7/26/2022 CCKA   Center     C. Hudak                                                                                             0.2    $218.00            $43.60                                    $0.00                                     0

                                             Strategize with E. Bustos re: document index of file in support of Motion
                                             for Summary Judgment
                   Murieta
                   Equestrian
  7/27/2022 CCKA   Center     C. Hudak                                                                                             0.4    $218.00            $87.20                                    $0.00                                     0

                                             Strategize with J. Flanders re: index of file in support of Motion for
                                             Summary Judgment.
                   Murieta
                   Equestrian
  7/27/2022 CCKA   Center     C. Hudak                                                                                             0.3    $218.00            $65.40                                    $0.00                                     0

                                             Strategize with J. Flanders re: spreadsheet of documents in file to date in
                                             support of Motion for Summary Judgment; update same
                   Murieta
                   Equestrian
  8/10/2022 CCKA   Center     C. Hudak                                                                                             0.8    $218.00           $174.40                                    $0.00                                     0

                                             Further analysis of document productions

                   Murieta
                   Equestrian
  8/23/2022 CCKA   Center     C. Hudak                                                                                             1.8    $218.00           $392.40                                    $0.00                                     0

                                             Analyze master document tracking spreadsheet in support of call with J.
                                             Flanders to discuss (.8); strategize with J. Flanders re: same (.8)
                   Murieta
                   Equestrian
  8/23/2022 CCKA   Center     C. Hudak                                                                                             1.6    $580.00           $928.00                                    $0.00                                     0




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                                             Additional assessment of completeness of documents in file to date

                   Murieta
                   Equestrian
  8/23/2022 CCKA   Center     C. Hudak                                                                                          0.8    $580.00           $464.00                                    $0.00                                      0

                                             Further refinement of master spreadsheet of all documents produced

                   Murieta
                   Equestrian
  8/24/2022 CCKA   Center     C. Hudak                                                                                          1.2    $218.00           $261.60                                    $0.00                                      0

                                             Further analysis of Defendant's confusing document productions in
                                             support of Motion for Summary Judgment
                   Murieta
                   Equestrian
  8/24/2022 CCKA   Center     C. Hudak                                                                                          0.7    $580.00           $406.00                                    $0.00                                      0

                                             Further analysis of file documents/edits to master sheet in support of
                                             Motion for Summary Judgment
                   Murieta
                   Equestrian
  8/25/2022 CCKA   Center     C. Hudak                                                                                          1.8    $218.00           $392.40                                    $0.00                                      0

                                             Further resolution of Ds document productions on master sheet

                   Murieta
                   Equestrian
  8/26/2022 CCKA   Center     C. Hudak                                                                                          0.6    $218.00           $130.80                                    $0.00                                      0

                                             Further analysis of produced documents for master tracking
                                             spreadsheet, in support of Motion for Summary Judgment; strategize
                   Murieta                   with co-counsel re: document review in support of Motion for Summary
                   Equestrian                Judgment
  8/31/2022 CCKA   Center     C. Hudak                                                                                          1.8    $218.00           $392.40                                    $0.00                                      0

                                             Everlaw storybuilder tutorial in support of preparing Motion for Summary
                                             Judgment
                   Murieta
                   Equestrian
  8/31/2022 CCKA   Center     C. Hudak                                                                                          0.8    $218.00           $174.40                                    $0.00                                      0

                                             Review draft SUF; emails re: review assignments; review updated tag
                                             tree; begin document review
                   Murieta
                   Equestrian
   9/6/2022 CCKA   Center     C. Hudak                                                                                          0.6    $580.00           $348.00                                    $0.00                                      0

                                             Further document review in support of Motion for Summary Judgment

                   Murieta
                   Equestrian
   9/7/2022 CCKA   Center     C. Hudak                                                                                          1.3    $580.00             $0.00                               $754.00                                        1.3

                                             Additional document review in support of Motion for Summary Judgment

                   Murieta
                   Equestrian
   9/7/2022 CCKA   Center     C. Hudak                                                                                          0.7    $580.00             $0.00                               $406.00                                        0.7




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                                             Document review in support of Motion for Summary Judgment

                   Murieta
                   Equestrian
   9/7/2022 CCKA   Center     C. Hudak                                                                                      1.9    $580.00           $1,102.00                                    $0.00                                      0

                                             Document review in support of Motion for Summary Judgment

                   Murieta
                   Equestrian
   9/7/2022 CCKA   Center     C. Hudak                                                                                      1.5    $580.00            $870.00                                     $0.00                                      0

                                             Resolve Everlaw document review issue in support of document review
                                             for Motion for Summary Judgment
                   Murieta
                   Equestrian
   9/7/2022 CCKA   Center     C. Hudak                                                                                      1.4    $218.00            $305.20                                     $0.00                                      0

                                             Doc review in support of Motion for Summary Judgment

                   Murieta
                   Equestrian
   9/8/2022 CCKA   Center     C. Hudak                                                                                      1.9    $580.00              $0.00                              $1,102.00                                        1.9

                                             Additional document review in support of Motion for Summary Judgment

                   Murieta
                   Equestrian
   9/8/2022 CCKA   Center     C. Hudak                                                                                      1.9    $580.00           $1,102.00                                    $0.00                                      0

                                             Further document review in support of Motion for Summary Judgment

                   Murieta
                   Equestrian
   9/8/2022 CCKA   Center     C. Hudak                                                                                      1.8    $580.00           $1,044.00                                    $0.00                                      0

                                             Continued document review in support of Motion for Summary Judgment

                   Murieta
                   Equestrian
   9/8/2022 CCKA   Center     C. Hudak                                                                                      1.7    $580.00            $986.00                                     $0.00                                      0

                                             Further document review in support of Motion for Summary Judgment

                   Murieta
                   Equestrian
   9/9/2022 CCKA   Center     C. Hudak                                                                                      1.6    $580.00            $928.00                                     $0.00                                      0

                                             Review documents in support of Motion for Summary Judgment

                   Murieta
                   Equestrian
  9/13/2022 CCKA   Center     C. Hudak                                                                                      1.5    $580.00              $0.00                                $870.00                                        1.5

                                             Continued document review in support of Motion for Summary Judgment

                   Murieta
                   Equestrian
  9/13/2022 CCKA   Center     C. Hudak                                                                                      0.5    $580.00              $0.00                                $290.00                                        0.5




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                                             Further document review in support of Motion for Summary Judgment

                   Murieta
                   Equestrian
  9/13/2022 CCKA   Center     C. Hudak                                                                                       1.9    $580.00           $1,102.00                                    $0.00                                      0

                                             Additional document review in support of Motion for Summary Judgment

                   Murieta
                   Equestrian
  9/13/2022 CCKA   Center     C. Hudak                                                                                       1.7    $580.00            $986.00                                     $0.00                                      0

                                             Review email from D. Hunt re: applicability of case interpreting Maui
                                             factors in support of developing claims against Murieta Equestrian
                   Murieta                   Center
                   Equestrian
  9/14/2022 CCKA   Center     C. Hudak                                                                                       0.2    $580.00            $116.00                                     $0.00                                      0

                                             Further document review in support of SUF

                   Murieta
                   Equestrian
  9/20/2022 CCKA   Center     C. Hudak                                                                                       1.4    $580.00            $812.00                                     $0.00                                      0

                                             Doc review in support of SUF draft.

                   Murieta
                   Equestrian
  9/20/2022 CCKA   Center     C. Hudak                                                                                       0.3    $580.00            $174.00                                     $0.00                                      0

                                             Review emails re: document review

                   Murieta
                   Equestrian
  9/21/2022 CCKA   Center     C. Hudak                                                                                       0.1    $580.00             $58.00                                     $0.00                                      0

                                             Further analysis of documents to add to SUF

                   Murieta
                   Equestrian
  9/22/2022 CCKA   Center     C. Hudak                                                                                       1.8    $580.00              $0.00                              $1,044.00                                        1.8

                                             Analyze documents for inclusion in SUF

                   Murieta
                   Equestrian
  9/22/2022 CCKA   Center     C. Hudak                                                                                       1.9    $580.00           $1,102.00                                    $0.00                                      0

                                             Strategize with E. Bustos re: document management (.2); analysis of
                                             documents in support of inclusion into SUF(.3)
                   Murieta
                   Equestrian
  9/22/2022 CCKA   Center     C. Hudak                                                                                       0.5    $580.00            $290.00                                     $0.00                                      0

                                             Everlaw account document synchronization between ATA and California
                                             Coastkeeper Alliance
                   Murieta
                   Equestrian
  10/4/2022 CCKA   Center     C. Hudak                                                                                       1.0    $218.00            $218.00                                     $0.00                                      0




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                   Murieta
                   Equestrian
  10/5/2022 CCKA   Center     C. Hudak                                                                                          0.4    $580.00              $0.00                                $232.00                                        0.4

                                             Doc management of files on Everlaw

                   Murieta
                   Equestrian
  10/5/2022 CCKA   Center     C. Hudak                                                                                          0.5    $218.00            $109.00                                     $0.00                                      0

                                             Strategize with J. Flanders re: document backup.

                   Murieta
                   Equestrian
 10/18/2022 CCKA   Center     C. Hudak                                                                                          0.1    $218.00             $21.80                                     $0.00                                      0

                                             Procure backup external hard drive; back up all case Everlaw files; mail
                                             to office
                   Murieta
                   Equestrian
 10/19/2022 CCKA   Center     C. Hudak                                                                                          2.5    $218.00            $545.00                                     $0.00                                      0

                                             Delete documents from Everlaw after backing them up

                   Murieta
                   Equestrian
 10/20/2022 CCKA   Center     C. Hudak                                                                                          0.2    $218.00             $43.60                                     $0.00                                      0

                                             Mailing of back up drive of documents to office

                   Murieta
                   Equestrian
 10/21/2022 CCKA   Center     C. Hudak                                                                                          0.5    $218.00            $109.00                                     $0.00                                      0

                                             Strategize with J. Flanders re: document management; call Everlaw re:
                                             same
                   Murieta
                   Equestrian
  11/3/2022 CCKA   Center     C. Hudak                                                                                          0.3    $218.00             $65.40                                     $0.00                                      0

                                             Strategize with co-counsel/EM re: documents management on Everlaw

                   Murieta
                   Equestrian
 11/15/2022 CCKA   Center     C. Hudak                                                                                          0.6    $218.00              $0.00                                $130.80                                        0.6

                                             Legal research regarding authentication of exhibits in support of Motion
                                             for Summary Judgment
                   Murieta
                   Equestrian
  12/5/2022 CCKA   Center     C. Hudak                                                                                          1.9    $580.00           $1,102.00                                    $0.00                                      0

                                             Strategize with J. Flanders/TB: re: Motion for Summary Judgment SUF;
                                             organize deposition highlight for inclusion in SUF
                   Murieta
                   Equestrian
  12/6/2022 CCKA   Center     C. Hudak                                                                                          2.0    $218.00            $218.00                                $218.00                                         1




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                                             Organize photos for inclusion as exhibits to Motion for Summary
                                             Judgment
                   Murieta
                   Equestrian
  12/6/2022 CCKA   Center     C. Hudak                                                                                      1.8    $218.00            $392.40                                     $0.00                                     0

                                             Further organization of deposition highlights for inclusion in SUF

                   Murieta
                   Equestrian
  12/6/2022 CCKA   Center     C. Hudak                                                                                      1.8    $218.00            $392.40                                     $0.00                                     0

                                             Legal research re: authentication of Motion for Summary Judgment
                                             exhibits; draft decs in support of same
                   Murieta
                   Equestrian
  12/6/2022 CCKA   Center     C. Hudak                                                                                      1.4    $580.00            $812.00                                     $0.00                                     0

                                             Additional development of Motion for Summary Judgment exhibit re:
                                             photos
                   Murieta
                   Equestrian
  12/6/2022 CCKA   Center     C. Hudak                                                                                      0.4    $218.00             $87.20                                     $0.00                                     0

                                             Call with T. Brett re: revisions to SUF

                   Murieta
                   Equestrian
  12/9/2022 CCKA   Center     C. Hudak                                                                                      0.1    $580.00             $58.00                                     $0.00                                     0

                                             Call with T. Brett re: adding sample data to SUF

                   Murieta
                   Equestrian
  12/9/2022 CCKA   Center     C. Hudak                                                                                      0.1    $580.00             $58.00                                     $0.00                                     0

                                             Call with T. Brett re: SUF revisions.

                   Murieta
                   Equestrian
  12/9/2022 CCKA   Center     C. Hudak                                                                                      0.1    $580.00             $58.00                                     $0.00                                     0

                                             Additional research for and drafting of SUF to Motion for Summary
                                             Judgment
                   Murieta
                   Equestrian
  12/9/2022 CCKA   Center     C. Hudak                                                                                      1.9    $580.00           $1,102.00                                    $0.00                                     0

                                             Strategize with co-counsel re: Motion for Summary Judgment exhibits;
                                             prepare exhibits of lab results/associated sections of SUF
                   Murieta
                   Equestrian
  12/9/2022 CCKA   Center     C. Hudak                                                                                      1.9    $218.00            $414.20                                     $0.00                                     0

                                             Further development of SUF of Motion for Summary Judgment

                   Murieta
                   Equestrian
  12/9/2022 CCKA   Center     C. Hudak                                                                                      1.7    $580.00            $986.00                                     $0.00                                     0




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                                             Continue to develop and draft SUF to Motion for Summary Judgment

                   Murieta
                   Equestrian
  12/9/2022 CCKA   Center     C. Hudak                                                                                            1.6    $580.00            $928.00                                     $0.00                                     0

                                             Call with T. Brett re: revisions to I Wren declaration adding descriptions
                                             of sampling locations.
                   Murieta
                   Equestrian
  12/9/2022 CCKA   Center     C. Hudak                                                                                            0.1    $580.00             $58.00                                     $0.00                                     0

                                             Develop photo exhibits to Motion for Summary Judgment

                   Murieta
                   Equestrian
 12/12/2022 CCKA   Center     C. Hudak                                                                                            1.8    $218.00            $392.40                                     $0.00                                     0

                                             Additional development of photo exhibits to Motion for Summary
                                             Judgment
                   Murieta
                   Equestrian
 12/12/2022 CCKA   Center     C. Hudak                                                                                            1.5    $218.00            $327.00                                     $0.00                                     0

                                             Develop sheet in support of SUF of all days evidence of water in
                                             unnamed stream
                   Murieta
                   Equestrian
 12/12/2022 CCKA   Center     C. Hudak                                                                                            1.3    $580.00            $754.00                                     $0.00                                     0

                                             Call with T. Brett re: SUF / Motion for Summary Judgment revisions and
                                             ID'ing photos taken by Wren.
                   Murieta
                   Equestrian
 12/13/2022 CCKA   Center     C. Hudak                                                                                            0.1    $580.00             $58.00                                     $0.00                                     0

                                             Further development of SUF section of Motion for Summary Judgment
                                             re: evidence of all days with water in unnamed stream
                   Murieta
                   Equestrian
 12/13/2022 CCKA   Center     C. Hudak                                                                                            2.0    $580.00           $1,160.00                                    $0.00                                     0

                                             Further development of evidence of days water in unnamed stream

                   Murieta
                   Equestrian
 12/13/2022 CCKA   Center     C. Hudak                                                                                            1.8    $580.00           $1,044.00                                    $0.00                                     0

                                             Prepare exhibits to SUF

                   Murieta
                   Equestrian
 12/13/2022 CCKA   Center     C. Hudak                                                                                            1.8    $218.00            $392.40                                     $0.00                                     0

                                             Further preparation of SUF: all days with evidence of water in unnamed
                                             stream
                   Murieta
                   Equestrian
 12/13/2022 CCKA   Center     C. Hudak                                                                                            1.6    $580.00            $928.00                                     $0.00                                     0




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                                             Prepare exhibits to Motion for Summary Judgment re: Rainfall

                   Murieta
                   Equestrian
 12/13/2022 CCKA   Center     C. Hudak                                                                                       0.8    $218.00            $174.40                                     $0.00                                      0

                                             Teleconference with E. Bustos re: exhibit list task.

                   Murieta
                   Equestrian
 12/14/2022 CCKA   Center     C. Hudak                                                                                       0.1    $580.00              $0.00                                 $58.00                                        0.1

                                             Teleconference with E. Bustos re: additional exhibit tasks.

                   Murieta
                   Equestrian
 12/14/2022 CCKA   Center     C. Hudak                                                                                       0.1    $580.00              $0.00                                 $58.00                                        0.1

                                             Further development of rainfall data for SUF; prepare exhibit list

                   Murieta
                   Equestrian
 12/14/2022 CCKA   Center     C. Hudak                                                                                       2.2    $218.00            $479.60                                     $0.00                                      0

                                             Additional development of Motion for Summary Judgment exhibits re:
                                             water in Unnamed Stream; add images/tables/captions to Wren Dec in
                   Murieta                   support of Motion for Summary Judgment
                   Equestrian
 12/14/2022 CCKA   Center     C. Hudak                                                                                       1.9    $580.00           $1,102.00                                    $0.00                                      0

                                             Further preparation of exhibit list to Motion for Summary Judgment

                   Murieta
                   Equestrian
 12/14/2022 CCKA   Center     C. Hudak                                                                                       1.9    $218.00            $414.20                                     $0.00                                      0

                                             Additional development of exhibits in support of Motion for Summary
                                             Judgment
                   Murieta
                   Equestrian
 12/14/2022 CCKA   Center     C. Hudak                                                                                       1.7    $218.00            $370.60                                     $0.00                                      0

                                             Additional development of exhibits to Motion for Summary Judgment;
                                             Research in support of Motion for Summary Judgment exhibit re: 303(d)
                   Murieta                   listing of Cosumnes; strategize with co-counsel re: same
                   Equestrian
 12/14/2022 CCKA   Center     C. Hudak                                                                                       1.7    $218.00            $370.60                                     $0.00                                      0

                                             Further development of exhibits to Motion for Summary Judgment

                   Murieta
                   Equestrian
 12/14/2022 CCKA   Center     C. Hudak                                                                                       1.5    $218.00            $327.00                                     $0.00                                      0

                                             Further development of exhibits for Motion for Summary Judgment
                                             including re: freeboard in unnamed stream
                   Murieta
                   Equestrian
 12/14/2022 CCKA   Center     C. Hudak                                                                                       0.7    $218.00            $152.60                                     $0.00                                      0




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Date      Client   Matter    Staff           Description                                                                Hours         Rate       Total             Billing Judgment Fee Reduction           Billing Judgment Time Reduction

                                             Call with T. Brett re: revisions to I. Wren Decl.

                   Murieta
                   Equestrian
 12/14/2022 CCKA   Center     C. Hudak                                                                                          0.2    $580.00             $0.00                               $116.00                                        0.2

                                             Edits to figure citations in Wren Dec in support of Motion for Summary
                                             Judgment; edits to exhibit re: dates of water in unnamed stream in
                   Murieta                   support of Motion for Summary Judgment
                   Equestrian
 12/15/2022 CCKA   Center     C. Hudak                                                                                          2.4    $218.00           $523.20                                    $0.00                                      0

                                             Fix formatting/consistency of cites in Wren Dec to Motion for Summary
                                             Judgment; edits to exhibit re: water in unnamed stream in support of
                   Murieta                   Motion for Summary Judgment
                   Equestrian
 12/15/2022 CCKA   Center     C. Hudak                                                                                          2.2    $218.00           $479.60                                    $0.00                                      0

                                             Development of Exhibit re: days water in Unnamed Stream in support of
                                             Motion for Summary Judgment
                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center     C. Hudak                                                                                          2.0    $218.00           $436.00                                    $0.00                                      0

                                             Further development of exhibit re: water in unnamed stream in support of
                                             Motion for Summary Judgment; add selections from deposition
                   Murieta                   transcripts to SUF in support of Motion for Summary Judgment
                   Equestrian
 12/15/2022 CCKA   Center     C. Hudak                                                                                          2.0    $218.00           $436.00                                    $0.00                                      0

                                             Prepare Exhibit list to Motion for Summary Judgment

                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center     C. Hudak                                                                                          1.9    $218.00           $414.20                                    $0.00                                      0

                                             Further development of Exhibit List in support of Motion for Summary
                                             Judgment
                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center     C. Hudak                                                                                          1.7    $218.00           $370.60                                    $0.00                                      0

                                             Call with T. Brett re: revisions to Wren Declaration

                   Murieta
                   Equestrian
 12/15/2022 CCKA   Center     C. Hudak                                                                                          0.1    $218.00            $21.80                                    $0.00                                      0

                                             Further edits to SUF citations for clarity and consistency in support of
                                             Motion for Summary Judgment
                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center     C. Hudak                                                                                          2.0    $580.00             $0.00                             $1,160.00                                         2

                                             Call with T. Brett re: next steps for revisions to SUF.

                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center     C. Hudak                                                                                          0.1    $218.00            $21.80                                    $0.00                                      0




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                                             Further edit and supplement citations in SUF in support of Motion for
                                             Summary Judgment
                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center     C. Hudak                                                                                             2.2    $580.00           $1,276.00                                    $0.00                                      0

                                             Additional edits to SUF citations for clarity and consistency in support of
                                             Motion for Summary Judgment
                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center     C. Hudak                                                                                             2.2    $580.00           $1,276.00                                    $0.00                                      0

                                             Edit and supplement citations in SUF in support of Motion for Summary
                                             Judgment
                   Murieta
                   Equestrian
 12/16/2022 CCKA   Center     C. Hudak                                                                                             2.1    $580.00           $1,218.00                                    $0.00                                      0

                                             Further edits/revisions to exhibit list titles in support of Motion for
                                             Summary Judgment; add relevant cites from deposition transcripts to
                   Murieta                   SUF
                   Equestrian
 12/16/2022 CCKA   Center     C. Hudak                                                                                             1.9    $218.00            $414.20                                     $0.00                                      0

                                             Additional edits/revisions to exhibit list titles in support of Motion for
                                             Summary Judgment; additional addition of relevant cites from deposition
                   Murieta                   transcripts to SUF
                   Equestrian
 12/16/2022 CCKA   Center     C. Hudak                                                                                             1.8    $218.00            $392.40                                     $0.00                                      0

                                             Research in support of evidentiary objections for Motion for Summary
                                             Judgment
                   Murieta
                   Equestrian
   2/7/2023 CCKA   Center     C. Hudak                                                                                             2.5    $580.00           $1,450.00                                    $0.00                                      0

                                             Call and text with T. Brett and J. Flanders re: authenticating Paulsen
                                             photos
                   Murieta
                   Equestrian
   2/9/2023 CCKA   Center     C. Hudak                                                                                             0.2    $580.00            $116.00                                     $0.00                                      0

                                             Additional research on exhibits in support of Motion for Summary
                                             Judgment Reply
                   Murieta
                   Equestrian
  2/10/2023 CCKA   Center     C. Hudak                                                                                             1.9    $580.00              $0.00                              $1,102.00                                        1.9

                                             Call with T. Brett re: authenticating certain photos cited in SUF

                   Murieta
                   Equestrian
  2/10/2023 CCKA   Center     C. Hudak                                                                                             0.1    $580.00                                                    $58.00                                        0.1

                                             Call with T. Brett re: authentication of photos

                   Murieta
                   Equestrian
  2/10/2023 CCKA   Center     C. Hudak                                                                                             0.1    $580.00             $58.00                                     $0.00                                      0




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                                             Research on exhibits in support of Motion for Summary Judgment Reply

                   Murieta
                   Equestrian
  2/10/2023 CCKA   Center     C. Hudak                                                                                            1.8    $580.00           $1,044.00                                    $0.00                                       0

                                             Continued research on exhibits in support of Motion for Summary
                                             Judgment Reply
                   Murieta
                   Equestrian
  2/10/2023 CCKA   Center     C. Hudak                                                                                            0.7    $580.00            $406.00                                     $0.00                                       0

                                             Prepare exhibits to Motion for Summary Judgment Reply

                   Murieta
                   Equestrian
  2/14/2023 CCKA   Center     C. Hudak                                                                                            1.2    $218.00            $261.60                                     $0.00                                       0

                                             Strategize with TM re: Reply SUF; research in support of same.

                   Murieta
                   Equestrian
  2/15/2023 CCKA   Center     C. Hudak                                                                                            0.6    $580.00              $0.00                                $348.00                                         0.6

                                             Research on photo exhibits in support of Reply SUF

                   Murieta
                   Equestrian
  2/16/2023 CCKA   Center     C. Hudak                                                                                            1.7    $580.00              $0.00                                $986.00                                         1.7

                                             Call with T. Brett re: locating meta data to authenticate certain exhibits
                                             cited in SUF
                   Murieta
                   Equestrian
  2/16/2023 CCKA   Center     C. Hudak                                                                                            0.1    $580.00             $58.00                                     $0.00                                       0

                                             Additional research re: exhibit photos in support of developing Reply
                                             SUF
                   Murieta
                   Equestrian
  2/16/2023 CCKA   Center     C. Hudak                                                                                            1.9    $580.00           $1,102.00                                    $0.00                                       0

                                             Further research re: photo exhibits in support of Reply SUF

                   Murieta
                   Equestrian
  2/16/2023 CCKA   Center     C. Hudak                                                                                            1.0    $580.00            $580.00                                     $0.00                                       0
                                             Totals                                                                          438.0                    $178,951.80                               $40,010.40                                        75.1




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